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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


IN RE MONITRONICS INTERNATIONAL,
INC. TELEPHONE CONSUMER                                              MDL No. 1:13-MD-2493
PROTECTION ACT LITIGATION


This document relates to:

Beavers v. Versatile Marketing Solutions, Inc.,
Case No. 1:14-cv-64 (IMK)



                        MEMORANDUM OF LAW IN SUPPORT OF
                         DEFENDANTS’ MOTION TO DISMISS

       Alliance Security, Inc. (“Alliance”), incorrectly identified as Versatile Marketing

Solutions, Inc., and Jasit Gotra, collectively referred to herein as “Defendants,” move to dismiss

the claims against them in this civil action pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure upon the following grounds:

1. Plaintiffs’ complaint fails to establish a prima facie claim for relief against Alliance under the

   federal Telephone Consumer Protection Act (“TCPA”);

2. Plaintiffs’ complaint fails to establish a prima facie claim for relief under the West Virginia

   Consumer and Credit Protection Act (“WVCCPA”) against Alliance;

3. Plaintiffs’ complaint fails to establish a prima facie claim for relief against Mr. Gotra under

   the TCPA;

4. Plaintiffs’ complaint fails to establish a prima facie claim for relief under the WVCCPA

   against Mr. Gotra;
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5. Plaintiffs’ complaint fails to allege the performance of any individual act of Jasit Gotra

   individually and has therefore failed to establish a prima facie claim for relief under the

   TCPA and/or the WVCCPA; and

6. Plaintiffs have failed to allege any fact that would justify disregarding corporate formalities

   to impose personal liability upon Mr. Gotra.

                                       STANDARD OF REVIEW

         In reviewing the sufficiency of a complaint, a district court "'must accept as true all of

the factual allegations contained in the complaint.'" Anderson v. Sara Lee Corp., 508 F.3d 181,

188 (4th Cir. 2007) (quoting Erickson v. Pardus, 551 U.S. 89, 94 (2007)). However, while a

complaint does not need detailed factual allegations, a plaintiff's obligation to provide the

grounds of his entitlement to relief requires more than labels and conclusions, and a formulaic

recitation of the elements of a cause of action will not do. Bell Atl. Corp. v. Twombly, 550 U.S.

544, 555 (2007). Indeed, courts "are not bound to accept as true a legal conclusion couched as a

factual allegation." Papasan v. Allain, 478 U.S. 265, 286 (1986). In considering whether the

facts alleged are sufficient, "a complaint must contain 'enough facts to state a claim to relief that

is plausible on its face.'" Anderson, 508 F.3d at 188 (quoting Twombly, 550 U.S. at 547). "A

claim has facial plausibility when the plaintiff pleads factual content that allows the court to

draw the reasonable inference that the defendant is liable for the misconduct alleged." Ashcroft v.

Iqbal, 556 U.S.Page 12662, 678 (2009). This requires "more than a sheer possibility that a

defendant has acted unlawfully." Id.        A complaint must include "more than labels and

conclusions, and a formulaic recitation of the elements of a cause of action will not do . . . ."

Twombly, 550 U.S. at 555. Only factual allegations are entitled to the presumption of truth.

Iqbal, 556 U.S. at 678-79.



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                                                 DISCUSSION

Plaintiffs have not alleged any misconduct on the part of Jasit Gotra

         Plaintiffs have not pleaded a colorable or remotely plausible cause of action against Mr.

Gotra. In Paragraphs 1-6 of the Complaint, the Plaintiff purports to identify the parties to this

Civil Action. Jasit Gotra is not included in the Plaintiffs’ identification of parties. The entire

complaint contains seven factual allegations, set forth in Paragraphs 20-26.1                        None of the

allegations claim that Mr. Gotra did anything related to any of the factual allegations. More to

the point, each of the allegations refer to “defendant” with no identification or suggestion of

which Defendant is accused. Defendant, given its ordinary meaning, refers to a singular person

or entity, not a collection of persons or entities as would be expected when making allegations

against “Defendants.”

         Other than an allegation that “each Defendant is jointly and severally liable for the

conduct alleged in this complaint” at Paragraph 8, there is no mention of any basis for this Court

to hold Mr. Gotra potentially liable based upon the Complaint filed by the Plaintiffs in this Court.

Although Jasit Gotra is named as a Defendant in the caption of this civil action and was

personally served with a Complaint and Summons on April 14, 2014, there is not a single factual

allegation against him in the Complaint. On this basis alone, the Complaint, on its face, fails to

state a claim against Mr. Gotra.

TCPA claims

         The entire complaint contains seven factual allegations, set forth in Paragraphs 20-26.

The relevant allegations are that each Plaintiff had a cell phone; had no prior business

relationship “with the Defendant”, never gave the “Defendant” express consent to be called by


1
 The Plaintiffs’ complaint contains two sets of paragraphs numbered 20-23. The reference in this contest is the first
set of paragraphs numbered 20-23.

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an automated telephone dialing system, “Defendant” repeatedly called and left voice messages

on Plaintiffs’ cell phone, and they asked “the Defendant” to stop calling their cell phone. There

is also an allegation, though not relevant to their claims that the Defendant blocked telephone

calls from the Plaintiffs.

         Plaintiffs apparently allege violations of 27 USC 227(b)2. Complaint, Paragraph 13. The

relevant portion of that provision provides:

         (b) RESTRICTIONS ON THE USE OF AUTOMATED TELEPHONE EQUIPMENT.—
         (1) PROHIBITIONS.—It shall be unlawful for any person within the United States, or any
         person outside the United States if the recipient is within the United States— (A) to make
         any call (other than a call made for emergency purposes or made with the prior express
         consent of the called party) using any automatic telephone dialing system or an artificial
         or prerecorded voice—
                         (iii) to any telephone number assigned to a paging service,
                        cellular telephone service, specialized mobile radio service, or
                        other radio common carrier service, or any service for which the
                        called party is charged for the call;

Part of the prima facie case that must be established as a predicate to liability is an allegation,

and eventually proof, that each Plaintiff was charged for each call that it received. Plaintiffs do

not allege that any of them were charged a fee or otherwise suffered any monetary losses because

of the alleged calls to their cell phones. See Complaint, Factual Allegations, Paragraphs 20-26.

         The Plaintiffs’ Complaint does not state any claim upon which relief may be granted to

any Plaintiff against any Defendant for violation of the TCPA and those claims should be

dismissed.

WVCCPA claims

         Plaintiff alleges that the WVCCPA incorporates “elements of the Uniform Consumer

Credit Code, the National Consumer Act and other West Virginia statutes.” Complaint at

Paragraph 16. Plaintiffs further allege that the WVCCPA “addresses telemarketing solicitations,

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 Plaintiffs did not identify this code provision in their pleading; rather they paraphrased and quoted from that Code
provision in paragraph 13 of their Complaint.

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among other consumer issues.” Curiously, however, the Plaintiffs do not identify any provision

of the Uniform Consumer Credit Code, the National Consumer Act or any other West Virginia

statute allegedly violated by either Defendant. Plaintiffs’ reference to telephone solicitations in

Paragraph 16 is unavailing for the same reasons discussed above, not a single Plaintiff has

alleged a prima facie claim for relief under the TCPA and therefore there can be no derivative

violation of the WVCCPA without TCPA liability.

       The only West Virginia statutory provision identified by the Plaintiffs is a remedy

provision found at West Virginia Code §46A-6F-701. See Complaint, Paragraphs 3 and 4 of the

Plaintiffs’ prayer for relief. Plaintiffs are apparently seeking a remedy without making the

slightest attempt to identify a statutory violation as a predicate for the remedy. To be fair, and in

candor to the Court, West Virginia Code §46A-6F-701 provides remedies for violation of West

Virginia Code §46A-6F-601.

       Assuming that the Plaintiffs’ §701 claim is sufficient to identify a §601 violation, the

Plaintiffs allegations do not satisfy the pleadings for a prima facie claim under the statute. West

Virginia Code §46A-6F-601. (Abusive acts or practices) provides:

       (a) It is an abusive telemarketing act or practice and a violation of this article for
       any telemarketer to engage in the following conduct:

               (1) Threaten, intimidate or use profane or obscene language;
               (2) Engage any person repeatedly or continuously with behavior a
               reasonable person would deem to be annoying, abusive or harassing;
               (3) Initiate an outbound telephone call to a person when that person
               previously has stated that he or she does not wish to receive an outbound
               telephone call made by or on behalf of the telemarketer whose goods or
               services are being offered;
               (4) Engage in telemarketing to a person's residence at any time other than
               between eight a.m. and nine p.m. local time, Monday through Sunday, at
               the called person's location; or
               (5) Engage in any other conduct which would be considered abusive to any
               reasonable consumer.



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       (b) A telemarketer will not be liable for violating subdivision (3), subsection (a) of
       this section if:

               (1) It has established and implemented written procedures to avoid
               outbound telephone calls to persons who have previously stated that they do
               not wish to receive such calls;
               (2) It has trained its personnel in the procedures established pursuant to
               subdivision (1) of this subsection;
               (3) The telemarketer has maintained and recorded lists of persons who have
               previously stated that they do not wish to receive such calls; and
               (4) Any subsequent call is the result of error.

       Plaintiffs do not allege that either Defendant satisfies the statutory definition of

“telemarketer” under the West Virginia Code, although the Plaintiffs do allege that Alliance

“initiated a telemarketing campaign on [sic] to sell security systems to Plaintiffs . . .” Complaint,

Preliminary Statement. The West Virginia statutory definition also contains an exclusion from

the definition; “A telemarketer does not include a salesperson as defined in section one hundred

fourteen of this article.” West Virginia Code §46A-6F-113(d).       West Virginia Code §§46A-6F-

114 exempts a “telemarketer who, during the previous two years has continually been engaged in

the business of telemarketing and who has not been convicted, or pled guilty or nolo contendere

to racketeering, embezzlement, fraudulent conversion, misappropriation of property or any

violations of state or federal securities laws, a theft offense, or any consumer protection law or

telemarketing law.”

       Plaintiffs do not allege facts sufficient to make either Alliance or Mr. Gotra a

telemarketer for purposes of the WVCCPA; to do so the Plaintiffs would have to at least allege,

and eventually prove, that Mr. Gotra and/or Alliance has been “convicted, or pled guilty or nolo

contendere to racketeering, embezzlement, fraudulent conversion, misappropriation of property

or any violations of state or federal securities laws, a theft offense, or any consumer protection

law or telemarketing law.” Plaintiffs have failed to plead enough facts to state a claim to relief



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that is plausible on its face." Plaintiffs’ WVCCPA claims should therefore be dismissed for

failure to state a claim against either Jasit Gotra or Alliance upon which this Court can provide

any relief.

Other miscellaneous reasons that the Complaint is deficient and fails to state a claim upon which
relief can be granted

       Plaintiffs filed their Complaint on April 8, 2014 but have not alleged that any one of them

        received any offending call within the relevant statute of limitations for either cause of

        action. Plaintiffs should, at a minimum, be required to provide approximate time frames

        for the calls which form the basis for their Complaint in order to establish that their

        claims are not time barred.

       Plaintiffs make no factual allegations upon which this Court can conclude that liability

        against either Defendant is facially plausible. The only relevant allegations, found at the

        first Paragraph 23 and in Paragraph 24, are that the Defendant, without identifying which

        Defendant, called their cell phones and left voice messages on their cell phones.

        Curiously, there is no allegation that the number shown on a caller ID indicated that

        either Defendant made the calls, that any call was traced to either Defendant, or that the

        message itself identified either Defendant as the source of the call.

       Plaintiffs have made a claim for actual damages. See Complaint, Preliminary Statement.

        Curiously, however, Plaintiffs do not allege any actual damages and there is no claim for

        actual damages in their prayer for relief.




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                                       CONCLUSION

       For the reasons discussed above, Defendants request that this Court grant their motion to

dismiss the Plaintiffs’ Complaint.

                                            ALLIANCE SECURITY, INC., and
                                            JASIT GOTRA

                                            BY SPILMAN THOMAS & BATTLE, PLLC

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                    IN THE UNITED STATES DISTRICT COURT
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Beavers v. Versatile Marketing Solutions, Inc.,
Case No. 1:14-cv-64 (IMK)




                               CERTIFICATE OF SERVICE

        I, John R. Teare, Jr., I hereby certify that on the 2nd day of May, 2014, I served the
foregoing “Memorandum of Law in Support of Defendants’ Motion to Dismiss” with the Clerk
of this Court and upon all counsel of record using the Court's CM/ECF filing system, as follows:


                               ALL PARTIES DESIGNATED
                                TO RECEIVE NOTICE VIA
                                 ELECTRONIC FILING




                                                      /s/ John R. Teare, Jr.
                                                      John R. Teare, Jr. (WV Bar No. 5547)




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